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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

LITTLE ROCK FAMILY PLANNING SERVICES, et al.,                                            PLAINTIFFS,

v.                                Case No. 4:19-cv-00449-KGB

LESLIE RUTLEDGE, in her official capacity as
Attorney General of the State of Arkansas, et al.,                                     DEFENDANTS.

     MOTION TO STRIKE PLAINTIFFS’ BELATEDLY FILED SUPPLEMENTAL DECLARATIONS;
                MOTION TO STRIKE REPLY BRIEF; AND BRIEF IN SUPPORT1

       Less than twelve hours before the deadline to object “to the Court’s consideration of

exhibits already in the record in this matter,” ECF No. 31 at 3, Plaintiffs have filed a motion

seeking to strike, among other things, the Rebuttal Declaration of Dr. Kathi Aultman, ECF No.

73. Plaintiffs’ primary objection is that they are prejudiced by the filing of Dr. Aultman’s

rebuttal declaration because they are “unable to timely file rebuttal testimony in response . . . .”

ECF No. 75-1 at 6. Consistent with this Court’s Order, Defendants will respond to Plaintiffs’

motion on the record during tomorrow’s hearing, see ECF No. 31 at 3, during which Plaintiffs

may ameliorate any alleged prejudice by presenting evidence to rebut Dr. Aultman’s testimony.

       However, should the Court grant Plaintiffs’ motion, the Court should apply the same

standard and likewise exclude several of Plaintiffs’ belatedly filed declarations. See E.E.O.C. v.

Waffle House, Inc., 534 U.S. 279, 314 (2002) (Thomas, J., dissenting) “[W]hat’s good for the

goose is good for the gander.”). After all, this Court has already declined to disallow

supplemental declarations of Plaintiffs’ on the basis that any “prejudice is limited and can be

mitigated via future proceedings.” ECF No. 41 at 3. Should the Court decide to change its view

on this matter, Defendants request that the Court strike the Supplemental Declaration of Brandon


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 To the extent that Local Rule 7.2 requires a brief in support, Defendants hereby incorporate the
arguments herein as their brief in support of this Motion,
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Hill, ECF No. 62, the Rebuttal Declaration of Linda W. Prine, ECF No. 62-1, the Rebuttal

Expert Declaration of Jason Lindo, ECF No. 62-2, and the Declaration of Christopher Attig, ECF

No. 63, all of which were filed after Defendants’ brief in opposition to Plaintiffs’ motion for

temporary relief, thereby preventing Defendant from adequately responding to them according to

Plaintiffs’ requested standard. If tomorrow’s hearing is not enough of an opportunity for

Plaintiffs to address Dr. Aultman’s declaration (especially given that they have been allotted

25% more time than Defendants), then neither is it satisfactory for Defendants to address the

numerous supplemental declarations filed by Plaintiffs.

       Defendants also separately move to strike Plaintiffs’ reply brief, ECF No. 61. As this

Court is well aware, the Local Rules provide for reply briefs only in this case of summary-

judgment motions. See L.R. 7.2. While the Court set a deadline for Plaintiffs to seek to file a

reply brief, ECF No. 31 at 3, it did not indicate that Plaintiffs were granted leave to do so without

seeking permission per the usual practice in this district, and Plaintiffs did not seek leave of the

Court before filing their reply brief. Therefore, Plaintiffs’ reply brief, and all accompanying

attachments, should be stricken.




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Dated: July 21, 2019                  Respectfully submitted,

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